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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SHENZHEN ZHEN PIN ZHENG
 DIGITAL ELECTRONIC
 TECHNOLOGY CO., LTD

                        Plaintiff,
                                                          Civil Action No. 1:21-cv-01916
                v.
                                                           JURY TRIAL DEMANDED
 THE PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,


                        Defendants.


   PLAINTIFF’S MOTION FOR ENTRY OF A PRELIMINARY INJUNCTION AND
                          ASSET RESTRAINT

       Plaintiff Shenzhen Zhen Pin Zheng Digital Electronic Technology Co., Ltd. (“Plaintiff”)

seeks entry of a preliminary injunction against the remaining Defendants enjoining the

manufacture, importation, distribution, offering for sale, and sale of infringing Plaintiff products

and a temporary asset restraint in an action arising out of 35 U.S.C. § 271. A Memorandum of

Law in Support is filed concurrently with this Motion.
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Dated this 18th day of May, 2021.            Respectfully submitted,

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                                CERTIFICATE OF SERVICE
        I hereby certify that on the 18th day of May, 2021, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Northern District of 18th day of
May, 2021, Eastern Division, using the electronic case filing system of the court. The electronic
case filing system sent a “Notice of Electronic Filing” to the attorneys of record who have
consented in writing to accept this Notice as service of this document by electronic means.

                                             /s/ Hao Ni
                                             Hao Ni
